                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:13-cr-128-HSM-SKL
                                                      )
 v.                                                   )
                                                      )
 IDRISS BARR                                          )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six count

 Superseding Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count One of the Superseding Indictment, that is of conspiracy to distribute a mixture and substance

 containing a detectable amount of cocaine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser offense of

 the charge in Count One of the Superseding Indictment, that is of conspiracy to distribute a mixture

 and substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) ; (4) defer a decision on whether to

 accept the plea agreement until sentencing; and (5) Defendant will remain on bond under appropriate

 conditions of release pending sentencing in this matter [Doc. 250]. Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation [Doc. 250] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:




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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

             Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Superseding Indictment, that is of conspiracy to distribute a mixture and substance

             containing a detectable amount of cocaine, a Schedule II controlled substance, in

             violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Superseding Indictment, that is of conspiracy to distribute a mixture and

             substance containing a detectable amount of cocaine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter which is scheduled to take place on Monday,

             March 9, 2015 at 2:00 p.m. [EASTERN] before the Honorable Harry S. Mattice,

             Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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